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     Attorneys for Plaintiff
7
                                UNITED STATES DISTRICT COURT
8
                               EASTERN DISTRICT OF CALIFORNIA
9
     TIMOTHY MUNZ, individually and on                 ) Case No. 1:17-cv-00525-LJO-BAM
10   behalf of themselves and all others similarly     )
     situated,                                         ) NOTICE OF SETTLEMENT
11
                                                       )
12   Plaintiff,                                        )
                                                       )
13           vs.                                       )
14
                                                       )
     ALLIED INTERSTATE LLC, and                        )
15   DOES 1 through 10, inclusive,                     )
                                                       )
16                                                     )
     Defendant.
17                                                     )

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19
             NOW COMES THE PLAINTIFF by and through his attorney to respectfully notify this
20
     Honorable Court that this case has settled. Plaintiff request that this Honorable Court vacate all
21
     pending hearing dates and allow sixty (60) days with which to file dispositive documentation.
22

23
     Dispositional documents will be forthcoming. This Court shall retain jurisdiction over this

24   matter until fully resolved.

25

26   Dated: June 19, 2017           Law Offices of Todd M. Friedman, P.C.

27
                                                     By: /s/ Todd M. Friedman____
28                                                           Todd M. Friedman, Esq.
                                                             Attorneys for Plaintiff


                                            Notice of Settlement - 1
            Case 1:17-cv-00525-LJO-BAM Document 5 Filed 06/19/17 Page 2 of 2


1    Filed electronically on this 19th Day of June, 2017, with:
2

3    United States District Court CM/ECF system

4    Notification sent electronically via the Court’s ECF system to:
5
     Honorable Lawrence J. O’Neill
6    Honorable Magistrate Judge Barbara A. McAuliffe
     United States District Court
7    Eastern District California
8
     And all Counsel of Record as recorded on the Electronic Service List.
9

10   This 19th Day of June, 2017

11
     s/Todd M. Friedman
12     Todd M. Friedman, Esq.

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                                            Notice of Settlement - 2
